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      Permanent Receiver
   13
                            UNITED STATES DISTRICT COURT
   14
                          CENTRAL DISTRICT OF CALIFORNIA
   15
                          WESTERN DIVISION – LOS ANGELES
   16
      SECURITIES AND EXCHANGE              Case No. 2:19−cv−02188−DSF−MRW
   17
      COMMISSION,                          Hon. Dale S. Fischer
   18
                      Plaintiff,           NOTICE OF MOTION AND MOTION
   19                                      OF RECEIVER FOR ORDER (1)
   20                 v.                   APPROVING AND CONFIRMING
                                           SALE OF THREE LOAN
   21                                      PORTFOLIOS, AND RELATED
      DIRECT LENDING INVESTMENTS
   22 LLC,                                 BIDDING PROCEDURES AND
                                           DEADLINES; (2) PAYMENT OF
   23                                      RAYMOND JAMES & ASSOCIATES,
                    Defendant.
   24                                      INC. FEES; AND (3) FORM AND/OR
                                           LIMITATION OF NOTICE UNDER
   25                                      LOCAL CIVIL RULE 66-7;
   26                                      MEMORANDUM OF POINTS AND
                                           AUTHORITIES
   27
   28                                        [DECLARATIONS OF SHARP AND
                                         1
          NOTICE OF MOTION AND MOTION TO APPROVE AND CONFIRM SALES OF WHOLE LOAN
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    1                                               KAUFFMAN FILED
    2                                               CONCURRENTLY]

    3                                               Date:    September 23, 2019
                                                    Time:    1:30 PM
    4
                                                    Dept.:   Courtroom 7D
    5                                               Place:   United States District Court
                                                             Western Division
    6
                                                             350 West 1st Street,
    7                                                        Los Angeles, CA 90012
    8
              PLEASE TAKE NOTICE THAT on September 23, 2019, at 1:30 p.m. in
    9
        Courtroom 7D of the above-entitled Court, located at 350 West 1st Street, Los
   10
        Angeles, CA 92701-4516, Bradley D. Sharp, the Court-appointed permanent
   11
        receiver (the “Receiver”), will and hereby does make this Motion for Order (1)
   12
        Approving and Confirming Sale of Three Loan Portfolios, and Related Bidding
   13
        Procedures and Deadlines; (2) Payment of Raymond James & Associates, Inc. Fees;
   14
        and (3) Form and/or Limitation of Notice Under Local Civil Rule 66-7 (the
   15
        “Motion”). By this Motion, the Receiver seeks the following relief:
   16
              1.     An order (a) approving and confirming the sales of each of three loan
   17
        portfolios, referred to as the Dealstruck Portfolio, the Biz2Credit Portfolio, and the
   18
        LoanHero Portfolio (collectively, “Whole Loan Portfolios”)1 to the Successful
   19
        Bidders making the highest and best bids for the Whole Loan Portfolios obtained
   20
        through a bidding and auction overbid process set forth in the Bidding Procedures
   21
        attached as Exhibit “1” to the Declaration of Adam Kauffman in support of this
   22
        Motion, or to the Back Up Bidders for the Whole Loan Portfolios if the Successful
   23
        Bidders (as those terms are defined in the Bidding Procedures) fail to perform, and
   24
   25   1
       The Whole Loan Portfolios include portfolios of term loans and lines of credit
      (Dealstruck Portfolio), merchant credit advances/future receivables sales agreements
   26 (Biz2Credit Portfolio), and unsecured consumer point-of-sale loans (LoanHero
      Portfolio). They are referred to for convenience as “loans” and all of the portfolios
   27 in question involved ultimate borrowers that may be individuals or small businesses.
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    1 (b) approving the related Bidding Procedures employed by the Receiver and its
    2 investment banker to sell the Whole Loan Portfolios, and the use of modified
    3 private sale procedures, under 28 U.S.C. section 2001(b) and 2004, as reasonable
    4 and appropriate under the circumstances for good cause shown by this Motion and
    5 supporting pleadings;
    6         2.    An order authorizing the Receiver to pay his Court-approved
    7 investment banker, Raymond James & Associates, Inc. (“RJA”) for its services in
    8 connection with the sale of the three Whole Loan Portfolios for the fees associated
    9 with the disposition of the three Whole Loan Portfolios pursuant to its previously
   10 approved engagement agreement, approved by the Court’s order entered July 2,
   11 2019 (Doc. No. 87)2 to be paid from the receivership estate’s sale proceeds; and
   12         3.    An order authorizing the form of notice on this Motion provided to
   13 interested parties, creditors, and investors, who are potential creditors of the estate,
   14 by the Receiver (a) serving the Motion and related moving papers on all parties to
   15 the action, (b) serving by mail a notice of hearing on the Motion to all known
   16 creditors pursuant to Local Civil Rule 66-7, (c) posting a copy of the Motion on the
   17 Receiver’s website for the case at https://cases.stretto.com/dli; and (d) causing the
   18 Receiver’s Court-approved claims agent, Bankruptcy Management Solutions dba
   19 Stretto, to provide by email a copy of the notice of hearing on the Motion to all
   20 known investors through its email service to investors in Direct Lending Income
   21 Fund, L.P. (“Domestic Feeder Fund”) and Direct Lending Income Feeder Fund,
   22 Ltd. (“Off Shore Feeder Fund”), the receivership entities through which
   23 investments were obtained.
   24
      2
        The confidential fee schedule setting forth the amount of the RJA fees related to
   25 specific assets has been filed under seal as confidential, and based on the detriment to
      the estate in negotiating and selling the assets if the specific fee information were
   26 made public. If requested by the Court, the Receiver can provide a calculation of the
      fees for in camera inspection when the Successful Bids have been identified through
   27 the sale process.
   28
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    1        Pursuant to the authority granted to the Receiver by the Court’s July 2, 2019
    2 Order (Doc. No. 87), beginning on August 1, 2019, the Receiver began offering for
    3 sale the three Whole Loan Portfolios through its Court-approved investment banker,
    4 RJA. Because of the size and nature of the Whole Loan Portfolios, the Receiver, in
    5 the exercise of his business judgment, informed through consultation with RJA,
    6 concluded that time is of the essence in selling the Whole Loan Portfolios and that
    7 in order to maximize value for these portfolios, the Receiver had to offer them for
    8 sale, solicit bids, conduct an auction with an opportunity for overbidding if the
    9 Receiver was able to generate more than one qualified bid for the portfolios, present
   10 the sales for Court approval and confirmation and close the sales within
   11 approximately 60 days. The Receiver therefore implemented the sale and Bidding
   12 Procedures attached as Exhibit “1” to the Declaration of Adam Kauffman and
   13 explained in the Kauffman Declaration and Memorandum of Points and Authorities
   14 filed in support of this Motion.
   15        By this Motion, the Receiver seeks approval of the Bidding Procedures, and
   16 approval and confirmation of the sales produced through the process to obtain
   17 buyers for the Whole Loan Portfolios. The Successful Bidders, and any Backup
   18 Bidders, will be identified in a subsequent filing by the Receiver at least one week
   19 prior to the scheduled hearing on the Motion. In summary, the sale and Bidding
   20 Procedures and request for confirmation of the sale to the Successful Bidders and
   21 Backup Bidders, if any, include the following procedures:
   22            • Receiver through RJA began offering the Whole Loan Portfolios for
   23               sale, soliciting bids, and providing an opportunity for potential bidders
   24               to conduct due diligence on August 1, 2019, and subject to written
   25               Bidding Procedures available to all potential bidders on or about
   26               August 13, 2019.
   27            • Qualified Bidders, as defined in the Bidding Procedures, may obtain
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    1             access to due diligence materials through a Virtual Data Room on the
    2             condition that they execute a confidentiality agreement (NDA) to
    3             review the details and documents concerning the loans and extensions
    4             of credit included in the Whole Loan Portfolios. Bidders must execute
    5             a standard Asset Purchase Agreement (“APA”) providing for the sale
    6             of the Whole Loan Portfolios on an “as is, where is” and non-recourse
    7             basis as detailed in the APA.
    8          • Bids for the Whole Loan Portfolios are due on August 29, 2019. The
    9             Receiver will accept for review bids for the entirety of each of the
   10             three Whole Loan Portfolios offered for sale, and bidders must bid
   11             separately for each portfolio.
   12          • If multiple Qualified Bids are received for any of the Whole Loan
   13             Portfolios or for the three Whole Loan Portfolios collectively, then the
   14             Receiver may conduct an auction on September 5, 2019 at which those
   15             Qualified Bidders may present overbids in increments generally of up
   16             to $50,000 or 5% of the previous highest bid, or such other increments
   17             as the Receiver in his discretion may choose to implement.
   18          • The availability of the Whole Loan Portfolios for sale will be
   19             advertised in the Wall Street Journal, West Coast publication, by
   20             August 15, 2019, and the ad will be available in both a print and on-
   21             line edition of that publication; and RJA has issued notices targeted to
   22             a contact list of more than 60 lenders, investors, collection agencies,
   23             loan services companies and other parties who are believed to have
   24             potential interest in purchasing these portfolios, culled from its
   25             extensive contact list, advising that the Whole Loan Portfolios were
   26             being offered for sale, that the due diligence period was open, and that
   27             August 29, 2019 is the deadline for submission of bids for the Whole
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    1              Loan Portfolios. The Motion with the Bidding Procedures will also be
    2              posted on the Receiver’s website for the receivership.
    3           • Bidders have been advised that any objections to the sale under the
    4              bidding procedures or the conduct of the auction must be filed by
    5              September 9, 2019.
    6           • By no later than September 16, 2019, one week prior to the scheduled
    7              hearing on this Motion, the Receiver will file a Notice and Statement
    8              of Sale Results with the Court. The Notice and Statement of Sale
    9              Results will advise the Court and interested parties of (a) the bids
   10              received as of August 29, 2019, (b) the results of any auction, (c)
   11              whether any objections were received and the Receiver’s response to
   12              those objections, (d) details regarding the Successful Bids, and Backup
   13              Bids, if any, for the sales of the Whole Loan Portfolios, including
   14              confirming to the Court that to the best of the Receiver’s knowledge
   15              and belief the Successful Bidders and Backup Bidders are good faith
   16              purchasers for the highest and best values reasonably realizable for the
   17              sale of the assets in question.
   18           • The Receiver reserves the right to withdraw any or all of the Whole
   19              Loan Portfolios at any time, for any reason or for no reason, in the
   20              Receiver’s sole discretion.
   21        The Receiver submits that for the reasons detailed in the declarations and
   22 memorandum filed in support of the Motion, good cause exists to modify the sale
   23 procedures and requirements for confirmation of private sales of property by a
   24 receiver under 28 U.S.C. sections 2001(b) and 2004, that appropriate and reasonable
   25 notice of the sale of the Whole Loan Portfolios and an opportunity for interested
   26 parties to bid for these assets has been provided, and that the sale procedures and
   27 sales to the highest Successful Bidders, and Backup Bidders should be approved and
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    1 confirmed as requested to obtain the best available value for these assets, minimize
    2 expenses associated with the sale or with multiple motions or hearings on the
    3 proposed sales, and maximize the net amounts realized for the receivership estate and
    4 its creditors.
    5         The Motion is made following the Receiver’s communications with counsel
    6 for the Securities and Exchange Commission under Local Rule 7-3, and the Receiver
    7 anticipates that the SEC will not oppose the Motion, subject to review of the Motion
    8 and supporting papers.       There are numerous interested parties served with the
    9 Motion, making a pre-filing conference with the other interested parties
   10 impracticable.
   11         This Motion is based upon this Notice, the following Memorandum of Points
   12 and Authorities, the concurrently filed Declaration of Bradley D. Sharp and
   13 Declaration of Adam Kauffman, the separate notice of hearing on the Motion, the
   14 subsequent Statement and Notice regarding the sale results and related pleadings to
   15 be filed on or before September 16, 2019, and upon such further oral argument,
   16 testimony and evidence as may be received at the hearing on this matter.
   17         PLEASE TAKE FURTHER NOTICE that pursuant to Local Rule 7-9, any
   18 party who opposes the Motion must, not later than 21 days before the date of the
   19 hearing on the motion, serve upon all other parties and file with the Clerk either (a)
   20 the evidence upon which the opposing party will rely in opposition to the motion and
   21 a brief but complete memorandum which shall contain a statement of all the reasons
   22 in opposition thereto and the points and authorities upon which the opposing party
   23 will rely, or (b) a written statement that that party will not oppose the motion.
   24 //
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    1 Evidence presented in all opposing papers shall comply with the requirements of
    2 L.R. 7-6, 7-7 and 7-8.
    3
    4 DATED: August 13, 2019              DIAMOND McCARTHY LLP
    5
                                          By: /s/ Christopher D. Sullivan
    6                                         Christopher D. Sullivan
    7                                         Counsel for Bradley D. Sharp,
                                              Permanent Receiver
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2        I.     INTRODUCTION
 3        On April 1, 2019, this Court entered the Preliminary Injunction Order and
 4 Order Appointing Permanent Receiver (“Receiver Order”), Doc. No. 10, appointing
 5 Bradley D. Sharp (“Receiver”) as permanent receiver for the estate of defendant
 6 Direct Lending Investments LLC (“DLI”), and Direct Lending Income Fund, L.P.,
 7 Direct Lending Income Feeder Fund, Ltd., DLI Capital, Inc., DLI Lending Agent,
 8 LLC, and DLI Assets Bravo, LLC and their successors, subsidiaries and affiliated
 9 entities (the “Receivership Entity”).
10        The Receiver has been granted the full powers of an equity receiver over all
11 funds, property and assets belonging to, being managed by or in the possession of
12 or control of the Receivership Entity. (Receiver Order, Section VI). In addition,
13 among other things, the Receiver Order provides that the Receiver has been granted
14 specific powers to sue, marshal, collect, and take possession of the Receivership
15 Entity’s property, and to “take such action as is necessary and appropriate to
16 preserve and take control of and to prevent the dissipation, concealment, or
17 disposition of any assets of or managed by the Receivership Entity.” (Receiver
18 Order Section VI.A. and D.)
19        II.    FACTS SUPPORTING RELIEF
20        The entities comprising the Receivership Entity are operating for the current
21 purpose of monitoring and supervising their primary assets, which consist of
22 portfolios of loans made by the Receivership Entity to third party borrowers. DLI
23 obtained investors for its loan portfolios through two “feeder” funds which were
24 structured as limited partnerships, one covering the United States investors (the
25 Domestic Feeder Fund) and one located in the Cayman Islands covering
26 investments made through a related Cayman Islands limited partnership (the
27 Offshore Feeder Fund).
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 1         In turn, the investments obtained by the feeder funds were transferred to DLI
 2 Capital, Inc., the “master fund” and then to other Receivership Entities, primarily
 3 DLI Assets Bravo, LLC (“DLI Assets Bravo”) which loaned or invested the funds
 4 directly or indirectly to third parties. The third party borrowers were generally
 5 lenders which made loans or extensions of credit to others (the “subsequent loans”).
 6 The subsequent loans generally constitute collateral for the loans by DLI Assets
 7 Bravo or were acquired by DLI Assets Bravo. The Receivership Entities also
 8 purchased loans and extensions of credit made directly to consumers and small
 9 businesses (the “whole loans”) and hold four portfolios of whole loans originated
10 by third party entities, three of which the Receiver seeks to sell pursuant to this
11 Motion.
12        The Receiver has previously reported to the Court in his First Status Report
13 filed April 12, 2019 (Doc. No. 15) the Receiver’s preliminary findings and
14 information regarding the assets and investor amounts listed on the Receivership
15 Entity books and records. The books and records show total combined investments
16 through February 1, 2019 in DLIF and DLIFF of approximately $791 million and
17 loans with an aggregate value on the Receivership Entity books and records of
18 approximately $755 million. The Receiver is still in the process of evaluating and
19 assessing the accuracy of these figures. The issues concerning the value and
20 collectability of the Quarterspot and VoIP Guardian Partners I, LLC, totaling over
21 $200 million on par value on the Receivership Entity books when the Receiver was
22 appointed, has also been addressed in prior filings.
23         DLI Assets Bravo holds portfolios of loans originated by three entities,
24 Dealstruck Funding 3, LLC (the “Dealstruck Portfolio”), Biz2Credit (the
25 “Biz2Credit Portfolio”), and LoanHero (the “LoanHero Portfolio”) (collectively,
26 the “Whole Loan Portfolios”).      The Whole Loan Portfolios had an aggregate par
27 amount owed of approximately $29.8 million as of June 30, 2019, which includes
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 1 approximately $7 million in par amount of loans or extensions of credit in
 2 collection in one of the Whole Loan Portfolios. The portfolios all involve small
 3 business or consumer lending, including term loans and lines of credit (Dealstruck
 4 Portfolio),   merchant    credit   advances/future   receivables   sales   agreements
 5 (Biz2Credit Portfolio), and unsecured consumer point-of-sale loans (LoanHero
 6 Portfolio).
 7         Pursuant to the Court’s July 2, 2019 Order granting the Receiver’s motion to
 8 employ RJA and to market and sell assets, the Receiver was authorized by the
 9 Court “to list and market for sale or other disposition the portfolio of loans
10 comprising the primary assets of the receivership estate by selling the loans
11 separately, in combination, or in bulk based on the advice of RJA and the
12 Receiver’s business judgment; to negotiate and document one or more agreements
13 for the disposition or sale of the portfolio of loans as appropriate; and to execute
14 such agreements for the disposition or sale disposition of the portfolio of loans,
15 subject to the Receiver seeking and obtaining Court approval for the specific
16 agreements for disposition or sale of these assets upon motion and with notice and
17 an opportunity for hearing by the interested parties.”
18         The Receiver, with the advice and consultation of the professionals at RJA,
19 has offered the Whole Loan Portfolios for sale in the manner described in the
20 Bidding Procedures and in this Motion, and with a timetable for prompt
21 confirmation of the sale and closing after entry of a sale confirmation order, as the
22 best means and timetable to maximize value for the estate from these portfolios.
23 The Whole Loan Portfolios, compared to the remainder of the loan and investment
24 assets, are relatively small in terms of the size of the portfolios even at par value,
25 and considering that loans with a par amount of approximately one-quarter of the
26 outstanding amount for the aggregate value of the three portfolios being in default.
27 Based on the Receiver’s and RJA’s experience, there is a limited pool of buyers for
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 1 the Whole Loan Portfolios in light of the relatively small size of the portfolios, the
 2 number of loans comprising each of the portfolios, the relatively low-dollar value of
 3 the individual loans, the delinquency rates in one of the portfolios, and other facts
 4 and circumstances. Time as a result is significant in achieving value for these
 5 portfolios as no new loans are being added to these portfolios so each month the
 6 value of the loans in the portfolios declines through scheduled payments,
 7 prepayments, or other factors, including defaults. Prompt disposition of the assets
 8 is thus essential, and any buyers for the Whole Loan Portfolios will want to close
 9 the sale and obtain the assets purchased for their accounts as soon as possible.
10        By the Court’s prior order, the Receiver has been authorized to enter into sale
11 contracts for the sales of these assets, subject to Court approval. Further, as set
12 forth below, the statutes governing the sales of personal property by a receiver
13 allow the Court flexibility in modifying the sale procedures as appropriate under the
14 circumstances. Based on the sale and bidding process described in the Motion, the
15 Bidding Procedures, this memorandum and the supporting declarations, the
16 Receiver now seeks approval of the specific agreements to sell each of the Whole
17 Loan Portfolios to the Successful Bidders, or Backup Bidders, if any, based on the
18 highest and best bids received for each of the Whole Loan Portfolios from the bids
19 received by August 29, 2019, or if multiple Qualified Bids are received and an
20 auction is conducted on September 5, 2019, based on the highest and best bids
21 received at the auction. The Receiver expects to enter into one or more Asset
22 Purchase Agreements for the “as is, where is” and nonrecourse sale of the Whole
23 Loan Portfolios based on the outcome of the bidding process and any auction that
24 may be conducted prior to the sale confirmation hearing on this Motion on
25 September 23, 2019.
26        At least one week prior to the hearing on this Motion, the Receiver will
27 provide the Court and interested parties the identity of the party or parties which
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 1 submit the Successful Bid(s), the amount to be paid for the purchase of the Whole
 2 Loan Portfolios, or the individual portfolios if separate Successful Bids are accepted
 3 for sales of the portfolios individually, and other details in support of the approval
 4 and confirmation of the sale of the Whole Loan Portfolios at the hearing on this
 5 Motion. In the interests of maximizing value for these portfolios and minimizing
 6 expense, and consistent with the Receiver’s authority by the July 2, 2019 Order to
 7 enter into sale contracts, the Receiver has proposed this compressed process of
 8 approving the bidding process/sale procedures and confirming the sales produced
 9 through this process, as time is critical to closing and transferring these portfolios to
10 the ultimate buyers.
11        The Receiver has previously advised the Court that the Receivership Entity
12 has a limited number of personnel, and does not have sufficient trained personnel
13 necessary to monitor, manage, collect, and enforce the loans comprising the loan
14 portfolios on an ongoing basis. The value of the loan portfolios may be in jeopardy
15 until the loans are sold, refinanced, or otherwise disposed of because of the lack of
16 sufficient trained personnel, issues noted above as to certain the loan portfolios
17 discovered by the Receiver; and the risks and potential volatility in the value of the
18 loan portfolios depending on the financial activities of the third party borrowers,
19 and the borrowers under the subsequent loans, as well as developments in the
20 broader economy, which may particularly affect the assets in the Whole Loan
21 Portfolios.
22         Each of the Whole Loan Portfolios is subject to a Court-approved fee for RJ
23 upon disposition. The Receiver requests that upon approval of the sales by the
24 Court and closing by the purchasers, the Court authorize the Receiver to pay RJ the
25 fees and out of pocket expenses due under the confidential fee schedule.
26
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 1         III.   THE GOAL OF PRESERVATION OF THE ESTATE AND THE
                  COURT’S BROAD DISCRETION TO APPROVE MODIFIED
 2                SALE PROCEDURES FOR SALES OF PERSONAL PROPERTY
                  WARRANT APPROVAL OF THE BIDDING PROCEDURES
 3                AND CONFIRMATION OF THE SALES PRODUCED BY
                  THOSE PROCEDURES.
 4
            The July 2, 2019 Order authorized the Receiver to enter into sale agreements
 5
     for the disposition of the loan and investment portfolios, subject to Court approval
 6
     of the specific sales. The Receiver seeks approval of the sales of the three Whole
 7
     Loan Portfolios and approval of the modified sale procedures for the sales of these
 8
     unique and difficult assets as the highest and best value likely to be achieved for
 9
     these assets.
10
11         A.     The Court Can Approve Modified Sale Procedures for the Sale of
12                Personal Property.
13         A receiver in a federal receivership is authorized to sell personal property
14 under the procedures of 28 U.S.C. §§ 2001 and 2004. See Tanzer v. Huffines, 412
15 F.2d 221, 222 (3d Cir. 1969). Section 2004 provides that: “Any personal property
16 sold under order or decree of any court of the United States shall be sold in
17 accordance with Section 2001 of this title, unless the court orders otherwise.”      28
18 U.S.C. § 2004 (emphasis added).
19         Section 2001 sets forth the procedures to be followed for the sale of real
20 property by a receiver which vary depending on whether the sale is by public sale
21 (section 2001(a)) or by private sale (section 2001(b)). The real property sale
22 procedures include procedures for publishing notice of the proposed sale, appointing
23 appraisers in the case of a private sale, providing at least 10 days’ notice of the sale
24 and an opportunity for overbidding prior to confirmation of a private sale, and a
25 requirement that a private sale price be not less than 2/3 the amount of the average
26 value of the property based on three appraisals. See 28 U.S.C. §§ 2001 and 2002.
27         With respect to personal property sales, the Court has more flexibility, and
28
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 1 courts often find cause to deviate from the statutory requirements of §§ 2001, 2002,
 2 and 2004. See SEC v. Wang, 2015 WL 12656907 at *3 (C.D. Cal. Aug. 25, 2015)
 3 (court has discretion to waive statutory requirements for personal property sales;
 4 parties may by consent waive requirements for real property sales); Consumer
 5 Financial Protection Bureau v. Pension Funding, LLC, 2017 WL 10562570 at *1
 6 (C.D. Cal. May 31, 2017) (court approves waiver of statutory requirements for sale
 7 of participatory interest in a loan); SEC v. Morriss, 2014 WL 1347528 at *1 (E.D.
 8 Mo. April 2, 2014) (citing limited pool of potential purchasers, nature of the interest
 9 in the private company being sold and other factors, court approves receiver’s sale of
10 interest in company outside statutory requirements).
11         The District Court has wide latitude in adopting a procedure for the sale of
12 personal property and except in cases where abuse is shown, appellate courts will not
13 disturb the exercise of the District Court’s discretion in setting the terms and
14 conditions for a judicial sale or the confirmation thereof. See United States v.
15 Branch Coal Corp., 390 F.2d 7 (3rd Cir. 1968) cert. den. Sun Protection Co. v. U.S.,
16 391 U.S. 966, 88 S. Ct. 2034, 20 L.Ed. 2d 878 (1968). Except in cases of abuse,
17 appellate courts will not disturb the exercise of the District Court’s discretion in
18 setting the terms and conditions for a judicial sale or the confirmation thereof. Id.
19         The discretion granted in connection with sales of assets is consistent with the
20 broad discretion accorded to the Court sitting in equity in receivership proceedings to
21 make orders concerning the administration and supervision of the estate that will
22 promote equity, efficiency and cost-effectiveness in the estate’s administration. See
23 generally Securities and Exchange Commission v. Hardy, 803 F.2d 1034, 1037 (9th
24 Cir. 1986) (“[A] district court’s power to supervise an equity receivership and to
25 determine the appropriate action to be taken in the administration of the receivership
26 is extremely broad”). See also Securities and Exchange Commission v. Black, 163
27 F.3d 188, 199 (3rd Cir. 1998); Securities and Exchange Commission v. Elliot, 953
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 1 F.2d 1560 (11th Cir. 1992).
 2
           B.    The Modified Sale Procedures Are Appropriate Under the
 3
                 Circumstances and Meet the Goals of Notice, An Opportunity to
 4
                 Bid and An Opportunity to Maximize Value.
 5
 6         The Receiver through RJA has provided both broad and targeted notice of the

 7 offer to sell the Whole Loan Portfolios. Since August 1, 2019, RJA has sent
 8 targeted emails to a contact list of more than 60 lenders, investors, collection
 9 agencies, loan services companies and other parties who are believed to have
10 potential interest in purchasing these portfolios, culled from its extensive contact
11 list, advising that the Whole Loan Portfolios were being offered for sale, that the
12 due diligence period was open, and that August 29, 2019 is the deadline for
13 submission of bids for the Whole Loan Portfolios. By August 15, 2019, the
14 Receiver will publish notice of the proposed sale of the portfolios and the bidding
15 deadline of August 29, 2019 in the Wall Street Journal, West Coast edition
16 newspaper, where the ad will appear in both a print and on-line edition of the paper.
17 The Motion with the Bidding Procedures will also be posted on the Receiver’s
18 website for the receivership.
19         Based on RJA’s extensive experience and expertise as set forth in the

20 Kauffman Declaration, there are limited numbers of buyers who would have an
21 interest in acquiring these asset portfolios. The assets do not involve traditional
22 bank or commercial loans. Individual loan/credit extension amounts are relatively
23 small and many are unsecured. The broad notice of the opportunity to bid for the
24 transactions through newspaper and on-line published notice coupled with direct
25 marketing by RJA to a relevant universe of contacts with the financial ability,
26 knowledge of the market, and potential interest in acquiring loan and credit assets
27 of this type is the most efficient, cost-effective and likely means of locating buyers
28 for these assets. In addition, notice of this Motion and the bidding opportunity is
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 1 being broadly disseminated more than 35 days in advance of the hearing on the
 2 Motion to creditors and investors and posted on the Receiver’s website for the case,
 3 providing additional broad and public notice of the chance to purchase these assets
 4 by interested parties.
 5         Notice to likely buyers is also the most reasonable, cost-effective and
 6 efficient way for market forces to test and determine the value of these portfolios.
 7 These assets cannot be readily “appraised”; the value is a function of the
 8 outstanding “par” amount owed on the portfolios coupled with a buyer’s assessment
 9 of the collectability of the underlying credit facilities, after taking into the servicing
10 costs and the risks associated with small business/consumer loans of this type. The
11 difficulty in locating any qualified valuation experts for these portfolios as well as
12 time delay and inordinate expense that would be incurred by the estate while the
13 value of the portfolios decreases each month make obtaining appraisals impractical
14 and of little utility in any event. The market will determine the value of the
15 portfolios, along with the Receiver’s business judgment with the advice of RJA and
16 their experience to assess the offers made when bids are received, and to reach a
17 conclusion as to whether the estate will be better off selling the portfolios, or
18 retaining and administering them based on the bid amounts received.
19         The bidding procedures also build in an opportunity for overbidding at an
20 auction for qualified bidders to submit overbids to increase the amounts offered for
21 the portfolios. All qualified bidders are notified through the bidding procedures
22 that there will be overbidding if multiple qualified bids are received, and of the
23 date, time and place for the overbidding/auction session. This is consistent with the
24 overbidding process contemplated in section 2001(b).
25         The timing of the auction, and setting of the sale confirmation hearing on this
26 Motion, are also designed to provide a fair notice and opportunity for hearing on the
27 proposed sales. They provide the time necessary for the Receiver to file with the
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 1 Court specific and detailed information regarding the results of the bidding and sale
 2 process, while allowing the sale to be confirmed and the sale closed as soon as
 3 possible after the conclusion of any auction, and potentially by the end of
 4 September within roughly 30 days of the bid deadline.
 5         For all the reasons set forth herein and in the declarations in support of this
 6 Motion, the Receiver requests the Court’s approval of the bidding procedures and
 7 confirmation of the specific sales produced by these procedures.
 8         IV.   NOTICE OF THE HEARING ON THIS MOTION SHOULD BE
                 DEEMED APPROPRIATE AND SUFFICIENT
 9
10         The Receiver has served notice of the hearing on this Motion on the parties
11 and by mail to the known non-investor creditors of the Receivership Entity. The
12 Receiver has posted the notice of hearing and the Motion on the Receiver’s website
13 (https://cases.stretto.com/dli). The Receiver has also directed Stretto, his Court-
14 approved claims agent, to email the notice of hearing to all investors by August 16,
15 2019, the earliest date possible for Stretto to complete the email service. The
16 Receiver believes this notice complies with the provisions of Local Civil Rule 66-7
17 to the extent that notice to investors is required. The Receiver requests that the
18 Court approve this form of notice as reasonable, appropriate, and the most cost-
19 effective means of providing notice of the hearing under the circumstances, since
20 there are approximately 975 investors both in the United States and overseas, and to
21 the extent necessary, to approve the notice given as reasonable, limited notice
22 appropriate under the circumstances and in the interests of time and cost. This
23 Court, as a court of equity supervising the receivership estate, may make
24 appropriate administrative orders governing the receivership, including limitations
25 on and changes in notice and other procedures. See F.R. Civ. P. 5(a) and (c)
26 (authorizing the court to modify service procedures when numerous defendants are
27 involved in litigation). In addition, pursuant to Local Civil Rule 66-8, a receiver is
28 directed to administer receivership estates in a manner “as nearly as possible in
                                           10
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 1 accordance with the practice in the administration of estates in bankruptcy.” Orders
 2 limiting notice when the Bankruptcy Code or Rules would otherwise require notice
 3 to all creditors are routinely granted in bankruptcy cases to promote the expeditious
 4 and economical administration of bankruptcy estates. See In re First Alliance
 5 Mortgage Co., 269 B.R. 428, 442 (C.D. Cal. 2001) (referencing in dicta in the
 6 court's recitation of facts the bankruptcy court's order limiting notice issued in that
 7 case); 11 U.S.C. section 102(1)(A) (defining the phrase "after notice and a hearing"
 8 to mean "after such notice as is appropriate in the particular circumstances, and
 9 such opportunity for hearing as is appropriate in the particular circumstances").
10        V.     CONCLUSION
11        WHEREFORE, the Receiver respectfully requests entry of an order granting
12 the relief set forth in the Motion and proposed order submitted with the Motion.
13
14 DATED: August 13, 2019                DIAMOND McCARTHY LLP
15
                                         By: /s/ Christopher D. Sullivan
16
                                             Christopher D. Sullivan
17                                           Counsel for Bradley D. Sharp
                                             Permanent Receiver
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